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B 2100A Form (2100A) (12/15)                          United States Bankruptcy Court
                                                            EASTERN DISTRICT OF ARKANSAS


                  In Re:                                                                                       Case No. 1716249
                  ANTONIO TREJO




                                                TRANSFER OF CLAIM OTHER THAN FOR SECURITY

                 A CLAIM HAS BEEN FILED IN THIS CASE, or deemed filed under 11 U.S.C. § 1111 (a). Transferee hereby gives
                 evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim
                 referenced in this evidence and notice.



                  PRA Receivables Management, LLC., as agent of
                  Portfolio Recovery Associates, LLC                                  Ally Financial
                  --------------------------------------------                        --------------------------------------------
                  Name of Transferee                                                  Name of Transferor



                  Name and Address where notices to transferee                        Court Claim # (if known): 2
                  should be sent:                                                     Amount of Claim: $15,659.87
                  Portfolio Recovery Associates, LLC                                  Date Claim Filed: 12/05/2017
                  POB 41067
                  Norfolk, VA 23541


                  Phone: (877)829-8298                                                Phone:
                  Last Four Digits of Acct # : 2567                                   Last Four Digits of Acct #: 2567

                  Name and Address where transferee payments                          Seller Information
                  Should be sent (if different from above)                            ALLY FINANCIAL INC.
                  Portfolio Recovery Associates, LLC                                  440 South Church St
                  POB 12914                                                           Charlotte NC 28202
                  Norfolk, VA 23541

                  Phone: (877)829-8298
                  Last Four Digits of Acct # : 2567




                  I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my
                  knowledge and belief.

                  By: /s/ LaTashia Harrison                                                             Date: 3/4/2019
                      --------------------------------------------
                      Transferee/Transferee’s Agent
                  Email: Bankruptcy_Info@portfoliorecovery.com


                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571
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